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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

  CHARLES LYONS,

                         Plaintiff,                      CIVIL ACTION FILE
  vs.
                                                         NO 1:22-cv-01991-MHC
  YEHONOTAN SADE, SADE CAPITAL, and
  VERO SADE.
                         Defendants.

                                       JUDGMENT

        This action having come before the Court, Honorable Mark H. Cohen, United States

District Judge, for consideration of Defendants’ Motion to Dismiss, and the Court having

granted said motion, it is

        Ordered and Adjudged that Plaintiff’s Complaint is DISMISSED.

        Dated at Atlanta, Georgia, this 18th day of December, 2023.

                                                          KEVIN P. WEIMER
                                                          CLERK OF COURT


                                                   By:     /s/ T. Frazier
                                                            Deputy Clerk
Prepared, Filed, and Entered
in the Clerk=s Office
December 18, 2023
Kevin P. Weimer
Clerk of Court

By: /s/ T. Frazier
      Deputy Clerk
